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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF NEW YORK
                                              DIVISION
IN RE:
         AMIR ORLY

                            DEBTOR                                CHAPTER 7 BANKRUPTCY
                                                                  CASE NUMBER 15-11650 (JLG)


--------------------------------------------------------------X
         COCOLETZI, ET AL

                            PLAINTIFFS
         v.                                                       A.P. CASE NO. 16-01020(JLG)

         AMIR ORLY
                            DEFENDANT                             NOTICE OF APPEARANCE
----------------------------------------------------------X

                     NOTICE OF APPEARANCE and DEMAND FOR
              SERVICE OF PAPERS PURSUANT TO BANKRUPTCY RULE 2002

PLEASE TAKE NOTICE that LINDA M. TIRELLI, ESQ., hereby appears in the above-
entitled ADVERSARY PROCEEDING as counsel on behalf of the DEFENDANT/DEBTOR,
MR. AMIR ORLY. Please note that this is a notice of appearance in the adversary proceeding
only and is not an appearance for the base chapter 7 case.

PLEASE TAKE FURTHER NOTICE that demand is hereby made that copies of all pleadings
and papers served or filed in the above-captioned bankruptcy/adversarial proceedings, including
without limitation, any notices required or permitted pursuant to Bankruptcy Rules 2002 (a), (b),
(e), (f), (h) and (l) be served upon

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DATED: March 9, 2016                                       /S/ LINDA M. TIRELLI
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